      Case 1:15-cv-03679-BMC-LB Document 65 Filed 11/10/21 Page 1 of 13 PageID #: 1438



  1     Lucio Celli
        89 Widmer Road
 2      Wappingers Falls, New York 12590
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                                           UNITED STATES COURT FOR
                                                                                   1 prose,2££1£^
                                                                                  *Rec. in dkt box 11/19
                                             THE EASTERN DISTRICT


        ELIZABETH COMBIER,                                Case No.: 15-cv-03679

        Appellant/Petitioner,
                                                          ANSWERS TO BETSY'S LAWSUIT




        FRANCESCO PORTELOS, ANGELA
        PORTELOS,LYDIA HOWRILKA (Teachers)
        UFT SOLIDARJTY (Caucus),"JOHN DOE
        AND JANE DOE #1-100" said names being
        fictitious/anonymous, it being the intent of
        Plaintiff to designate any and all individuals,
        officers, members, agents, servants, and/or
        employees of the aforementioned agencies,
        groups and/or individuals who have joined in
        defamation and harassment of Plaintiff,
        individually and jointly and severally, all
        individually and officially named,

        Appellee/Respondent



               I am not named but I am named in the body. I submit the following answers under the
        penalty of perjury and pursuant to 28 USC § 1746. 1 request a change of venue to federal court
        because my counter suit will be 42 USC § 1983 claim against Ms. Combier, federal judges(mostj
21      of whom have judicial immunity except for one or two), AUSAs(have prosecutorial immunity) '
        and with others. Federal judges and prosecutors can be sued under said action as long the remedy
        does not include monetary damages in their judicial capacity or prosecutorial capacity, but the
23      collection of taxes is a ministerial act/duty for said positions, which I wanted to do a mandamus
        on this issue, but Mr. Silverman, Esq. and Mrs. Silverman, Esq. denied me access to the court, so
24      this is a First Amendment issue under §1983.
25
                Please Take Notice, many of the statements are lime barred by statute and/or fall under
2(3     resjudicata

27      Paragraph by paragraph answers

        ANSWERS TO BETSY'S LAWSUIT - 1
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